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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                         x
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :
                                              :
                                              :
                                              :              MOTION TO FILE A NEW
                                              :              ASSOCIATED CASE UNDER A
                                              :              SHORT FORM COMPLAINT AND
                                              :              TO ADOPT ASHTON FOR CLAIMS
                                              :              AGAINST DEFENDANT
                                              :              REPUBLIC OF THE SUDAN
                                              :
                                              :              1:03 MDL 1570 (GBD) (SN)
                                              :
                                              :
                                              x

This Document Relates to
Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 1:02-cv-06977 (GBD) (SN)
Ashton, et al. v. Kingdom of Saudi Arabia, Case No. 1:17-cv-02003 (GBD) (SN)
Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 1:02-cv-07236 (GBD) (SN)
Burlingame, et al. v. bin Laden, et al., Case No. 02-cv-6977 (GBD) (SN)

Katherine Maher, in her own right and as Executrix of the Estate of Daniel L. Maher, Deceased;
Patricia Ryan, in her own right and as Executrix of the Estate of John J. Ryan, Deceased;
Kristen Breitweiser, in her own right and as Administratrix of the Estate of Ronald Breitweiser,
Deceased; and Caroline Breitweiser v. Republic of the Sudan (proposed new associated case)


       Katherine Maher, in her own right and as Executrix of the Estate of Daniel L. Maher,

Deceased, Patricia Ryan, in her own right and as Executrix of the Estate of John J. Ryan, Deceased,

Kristen Breitweiser, in her own right and as Administratrix of the Estate of Ronald Breitweiser,

Deceased, and Caroline Breitweiser (collectively, the “Maher Plaintiffs”), through counsel, hereby

respectfully submit, in the interest of justice, this Motion To File An Associated Case And To

Adopt Ashton For Claims Against Defendant Republic of the Sudan. In support thereof, the Maher

Plaintiffs aver the following:
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       1.      It is the object of this Motion to preserve Plaintiffs’ respective existing rights

against Sudan, a defendant currently in default, and to transfer them into a new associated case, to

be styled Katherine Maher, in her own right and as Executrix of the Estate of Daniel L. Maher,

Deceased; Patricia Ryan, in her own right and as Executrix of the Estate of John J. Ryan,

Deceased; Kristen Breitweiser, in her own right and as Administratrix of the Estate of Ronald

Breitweiser, Deceased; and Caroline Breitweiser v. Republic of the Sudan (“Maher, et al. v.

Sudan”).

       2.      Plaintiffs from the Maher and Ryan families were previously represented by the

law firm of Baumeister & Samuels, P.C. in the case Bauer, et al. v. al Qaeda Islamic Army, et al.

These plaintiffs, through incorporation of Bauer into the larger cases of Ashton, et al. v. al Qaeda

Islamic Army, et al. (“Ashton v. al Qaeda”), and Ashton, et al. v. Kingdom of Saudi Arabia (“Ashton

v. KSA”) within this MDL, asserted claims against three foreign sovereigns for providing direct

and material support to al Qaeda in carrying out the 9/11 attacks: the Kingdom of Saudi Arabia

(“Saudi Arabia”); the Islamic Republic of Iran (“Iran”); and, the Republic of the Sudan (“Sudan”).

       3.      Plaintiffs from the Breitweiser family were previously represented by the law firm

Speiser Krause, PC, in the case Burlingame, et al. v. bin Laden, et al. These plaintiffs, through

incorporation of Burlingame into the larger cases of Ashton v. al Qaeda and Ashton v. KSA, also

asserted claims against the same three foreign sovereigns for providing direct and material support

to al Qaeda in carrying out the 9/11 attacks: Saudi Arabia, Iran, and Sudan.

       4.      On December 22, 2011, while all of the moving Plaintiffs herein were represented

by prior counsel, the Clerk of Court issued a Certificate of Default as to the Republic of the Sudan

in Ashton v. al Qaeda for failing for answer or otherwise move with respect to the Ashton

Consolidated Master Complaint. Ashton Doc. No. 652.



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        5.      Subsequently, in October 2016, the plaintiffs from the Maher and Ryan families

obtained a default judgment, again through prior counsel under the Bauer caption, against the

Islamic Republic of Iran and were awarded solatium damages based on the evidence presented in

Havlish, et al. v. bin Laden, et al., 1:03-cv-9848 (GBD)(FM) (“Havlish”), and Hoglan, et al. v.

Islamic Republic of Iran, et al., 1:11-cv-07550 (GBD)(SN) (“Hoglan”), in this MDL.

        6.      On May 29, 2018, the plaintiffs from the Breitweiser family also obtained a default

judgment, through prior counsel under the Burlingame caption, against the Islamic Republic of

Iran and were awarded solatium damages based on the evidence presented in Havlish and Hoglan.

        7.      This Motion seeks to preserve the claims of the Maher, Ryan, and Breitweiser

plaintiffs, the defaults against Sudan obtained by such Plaintiffs in the above-referenced cases, and the

judgments obtained in the above-referenced cases. (A separate motion with respect to the moving

Plaintiffs’ claims against Saudi Arabia will also be filed by these Plaintiffs.)

        8.      On August 28, 2019, the plaintiffs in the Breitweiser family filed an Unopposed

Motion to Substitute Counsel to change their legal representation from their prior law firm, Speiser

Krause, PC, to the undersigned attorneys, primarily so that these plaintiffs could participate in

judgment enforcement proceedings in Europe with respect to Iran and its agencies and

instrumentalities. A copy of the Unopposed Motion to Substitute Counsel filed by the Breitweiser

family, MDL Doc. No. 5017 (erroneously docketed as No. 75017), is attached hereto as EXHIBIT

A.

        9.      Similarly, on September 20, 2019, the plaintiffs that are members of the Maher and

Ryan families each filed a Motion to Substitute Counsel to change their legal representation from

their prior law firm, Baumeister & Samuels, P.C., to the undersigned attorneys, for similar reasons.

A copy of the Motion to Substitute Counsel filed by the Maher family, MDL Doc. 5165, is attached



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hereto as EXHIBIT B. A copy of the Motion to Substitute Counsel filed by the Ryan family, MDL

Doc. 5164, is attached hereto as EXHIBIT C.

       10.     This Court ordered that all of the moving Plaintiffs here as well as the claims of

certain other 9/11 families that held judgments against Iran obtained by other attorneys, be moved

into a new case to be captioned Ryan, et al. v. Islamic Republic of Iran, et al. The Ryan action was

to be associated with the undersigned counsel’s Havlish and Hoglan actions, which have

judgments against sixteen (16) Iranian parties, including the Islamic Republic of Iran, but no other

nation-state. Undersigned counsel would take the necessary procedural steps to preserve Plaintiffs’

respective existing judgments against Iran in Bauer and unify them with the judgments sought in

Ryan against all sixteen (16) Iranian Defendants previously adjudged liable in Havlish and Hoglan,

so that the Ryan Plaintiffs’ would have the ability to collect their damage awards both in this country

and abroad.

       11.     The undersigned counsel subsequently filed Ryan, et al. v. Islamic Republic of Iran,

et al., 1:20-cv-00266 (GBD)(SN), and all the Ryan Plaintiffs obtained judgments against the

sixteen Iranian Defendants in conformity with the previously entered judgments in Havlish and

Hoglan.

       12.     On the advice of co-counsel for European judgment enforcement, only defendants

associated with Iran were made a part of the Ryan case. Sudan, against which the moving Plaintiffs

herein had obtained the benefit of a default entered by the Clerk in the Ashton litigation, was not

included among the defendants in Ryan for this reason (and neither was the Kingdom of Saudi

Arabia).

       13.     While the Ryan case placed all the moving Plaintiffs into a similar posture with

respect to their claims against Iran, the Plaintiffs are in different positions with respect to their



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claims against Sudan. This Motion seeks to place them on an even footing, as more fully explained

below and in the accompanying Memorandum of Law.

       14.     Plaintiffs initially had their claims against Sudan asserted by prior counsel via the

Complaint and Consolidated Amended Complaint in Ashton v. al Qaeda, filed in this Court on

September 4, 2002, and March 6, 2003, respectively. See Ashton Doc. Nos. 1-2 and 1-3, and 11.

       Sudan was served with the Ashton Consolidated Master Complaint in Khartoum, Sudan,

via the U.S. Department of State pursuant to 28 U.S.C. §1608(a)(4) on April 29, 2003. Proof of

service was transmitted from the U.S. Department of State to the Clerk of Court, SDNY, on May

15, 2003. See Affidavit of Service of Andrew J. Maloney, Esq. filed with the Court on September

16, 2005, Ashton Doc. No. 358, a copy of which is attached hereto as EXHIBIT D.

       15.     Sudan failed to answer, or otherwise move, with respect to the Ashton Consolidated

Master Complaint. The Clerk of Court issued a Certificate of Default against the Republic of the

Sudan on December 22, 2011. See Clerk’s Certificate of Default dated December 22, 2011, at

Ashton ECF Document 652, a copy of which is attached hereto at EXHIBIT E.

       16.     At the time the Clerk issued the Certificate of Default, all the moving Plaintiffs

were similarly situated with respect to their Sudan claims within the Ashton case and were

represented by their respective prior counsel.

       17.     The motion to substitute counsel for the Breitweiser family was unopposed. Under

its terms, the undersigned counsel was to be counsel of record for only the Breitweiser family

among the hundreds of 9/11 families that are plaintiffs in Ashton v. al Qaeda.




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       18.     The motion to substitute counsel for the Maher and Ryan families was also unopposed,

though prior counsel did request the Court to enter an order removing Plaintiffs not only from the

Bauer action against Iran, but also from the Ashton cases, i.e., the cases in which these Plaintiffs’

claims against Saudi Arabia and Sudan have been litigated.

       19.        On November 26, 2019, this Court granted the respective motions to substitute

counsel filed by the Maher and Ryan families, and also granted these plaintiffs leave to file a new

MDL member case under which their Iran judgments and claims would conform with those

previously entered against the Iranian Defendants in Havlish and Hoglan. In granting the motion,

this Court directed the plaintiffs from the Maher and Ryan families “to voluntarily withdraw from

the Ashton and Bauer actions and file a new member case associated with the Havlish action.” A

copy of the Order entered by U.S. Magistrate Judge Sarah Netburn on November 29, 2019, at MDL Doc.

5312 is attached hereto as EXHIBIT F.

       20.     Therefore, in contrast to the Breitweiser family, the plaintiffs from the Maher and

Ryan families, who have withdrawn from the Ashton case as directed by the Court prior to filing

Ryan for their Iran claims, are no longer represented by prior counsel for their claims against Sudan

in this MDL.

       21.     Plaintiffs now propose that the claims of the Breitweiser family against Sudan be

transferred from Ashton and joined into a new member case in this MDL against the Republic of

the Sudan, and joined with the Sudan claims of the Maher and Ryan families so that all the

members of these three families, who are now all represented by undersigned counsel, are placed

in the same procedural posture with respect to Sudan.

       22.     A proposed Short Form Complaint adopting the allegations of Ashton v. al Qaeda,

styled Maher, et al. v. Republic of the Sudan, attached hereto as EXHIBIT G, would be filed and

entered into the In Re Terrorist Attacks on September 11, 2001 MDL proceedings in this Court.

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This Short Form Complaint is based upon the procedure previously used in this MDL with respect

to adoption of allegations in Ashton against Iran and Saudi Arabia for new plaintiffs.

        23.     The difference here is that these are not new plaintiffs or new claims. As in Ryan

v. Iran, Plaintiffs seek leave for an efficient transfer of already existing claims and defaults, as held

in the predecessor cases, into a new case associated with Ashton v. al Qaeda so that all Plaintiffs

are on a similar procedural footing with respect to their claims against Sudan.

        24.     Plaintiffs must preserve their right to proceed against Sudan because Sudan has

recently appeared in the MDL proceedings, more than seventeen (17) years after service of the

Ashton Consolidated Master Complaint in which the moving Plaintiffs were named, yet prior to

the Court directing Plaintiffs’ withdrawal from Ashton on November 26, 2019.

        25.     Filing a new Short Form Complaint adopting the claims in Ashton v. al Qaeda

against Sudan under the rubric set forth in this Court’s Order of July 10, 2018, is particularly

warranted now because the new government in Sudan has demonstrated a desire to rejoin the

community of nations, and, to do so, resolve claims and judgments entered against it in various

proceedings in the courts of the United States under the anti-terrorism exception to foreign

sovereign immunity.

        26.     Plaintiffs respectfully request the proposed Complaint be accepted as a new

member case associated with Ashton v. al Qaeda and entered into the In Re Terrorist Attacks on

September 11, 2001 MDL proceedings in this Court.

        27.     Plaintiffs are similarly situated in that they were represented by attorneys other than

the undersigned, and their claims against Sudan were filed in Ashton v. al Qaeda.

        28.     Further, it is appropriate for the Maher Complaint to relate back to the time of the

filing of the Ashton Complaint with respect to the Republic of the Sudan.



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       WHEREFORE, the proposed Maher Plaintiffs respectfully request that this Honorable

Court enter the attached proposed Order GRANTING said Plaintiffs’ request to file a new case to

preserve the Maher Plaintiffs’ existing claims against Sudan, relating back to the time of filing of

the Maher Plaintiffs’ original claims with respect to Sudan in Ashton v. al Qaeda, and that the

Maher case be entered into the ongoing In Re Terrorist Attacks on September 11, 2001 MDL

proceedings in the United States District Court for the Southern District of New York.

                                              RESPECTFULLY SUBMITTED,
Date: August 3, 2020                          /s/ Dennis G. Pantazis_____________________
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